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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    WESTERN DIVISION


DALE STROUD and
KARI STROUD                                                 PLAINTIFFS


v.                        No. 4:12-cv-500-DPM


SOUTHWESTERN ENERGY
COMPANY and SEECO, INC.                                  DEFENDANTS


                                 ORDER
     1.    This case is, once again, in the ditch because of the parties'
discovery disputes.     The Fifth Amended Final Scheduling Order,
NQ 226, is suspended.
     2.    The Court will hold a hearing at 10:00 a.m. on 10 August
2018 in Little Rock to resolve all pending discovery disputes. Ng 236,
250 & 259. The parties' efforts to do so have failed; therefore, the Court

will (for better or worse) decide the specifics of all remaining discovery.
The parties' e-discovery consultants must attend the hearing. Someone
authorized to speak for Desoto and SWN E&P on the subpoena issues,
and accept directions on those issues, must also attend. The delayed
hearing date is partly because of the Court's other obligations and
partly to avoid scheduling conflicts, or at least provide time to work
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them out. Please plan on spending as long as it takes on August 10th
to sort all the issues.
      3.    To prepare for the hearing, the Court needs to review the
materials that the Defendants have produced. Defendants must file an
electronic copy under seal by 15 June 2018, with a courtesy electronic
copy delivered to chambers. Please divide the materials into two
groups: things produced in phase I and things produced in phase IL
      The Court also needs a roadmap for those materials - something
like a table of contents, or a list of categories of information. Defendants
should file the roadmap under seal, and may file it ex parte if they so
choose.    Don't spend too much time creating this roadmap;               if
something approximately like it already exists, that document will be
fine. Please resist any temptation to argue the documents. The Court
needs some organizational structure, not argument.
      4.    The Court would also benefit from the parties' preliminary
thoughts on the measure-of-damages issues. Simultaneous ten-page
briefs due on 29 June 2018. No responding briefs.
      5.    A further word about the August hearing. The Court is
going to decide particulars.       And then the parties are going to
implement the Court's decisions. There are not going to be any more
joint reports. There are not going to be any more extensions. It's past
time to get this old case resolved one way or another.



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Motions, NQ 248 & 252, denied as moot.
So Ordered.


                            D.P. Marshall Jr.
                            United States District Judge




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